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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                                 :
                                       : Case No.: 16-13315
Frank Pileggi                          : Chapter 13
Julie D Pileggi                        : Judge Jean K. FitzSimon
                                       : *******************
                             Debtor(s)
                                       :
USB Leasing LT                         : Date and Time of Hearing
                               Movant, : Place of Hearing
       vs                              : May 27, 2020 at 9:30 a.m.
                                       : ___________________________
Frank Pileggi                          :
Julie D Pileggi                        : U.S. Bankruptcy Court
                                       : 900 Market Street, Courtroom #3
                                       : Philadelphia, PA, 19107
Scott F. Waterman (Chapter 13)
                              Respondents.

MOTION FOR RELIEF FROM THE AUTOMATIC STAY TO PERMIT USB LEASING
  LT TO REPOSSESS PROPERTY, A 2015 DODGE DURANGO BEARING THE
    VEHICLE IDENTIFICATION NUMBER ("VIN" ) 1C4RDJDG1FC953896

        USB Leasing LT (the "Creditor") moves this Court, under Bankruptcy Code §§ 361, 362,

363, and other sections of Title 11 of the United States Code, and under Federal Rules of

Bankruptcy Procedure 4001 and 6007 for an order conditioning, modifying, or dissolving the

automatic stay imposed by Bankruptcy Code § 362 and avers as follows:

        1.     This is an action arising pursuant to a case under Title 11 of the United States

Code.

        2.     Creditor is a lending institution duly authorized to conduct business in the

Commonwealth of Pennsylvania.

        3.     Creditor is a party-in-interest in the above referenced Bankruptcy matter as it is a

secured creditor of the Debtor.




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       4.      Frank Pileggi and Julie D Pileggi (collectively, ''Debtor'') filed a voluntary petition

for relief under Chapter 13 of the Bankruptcy Code on May 9, 2016, ("Petition").

       5.      Julie Diane Pileggi is currently obligated to USB Leasing LT, under the terms of a

certain Motor Vehicle Lease Agreement – Closed-End, dated February 29, 2016, in the original

principal amount of $31,133.91 executed by Julie Diane Pileggi (hereinafter "Contract") for the

lease of a 2015 Dodge Durango bearing the Vehicle Identification Number ("VIN" )

1C4RDJDG1FC953896 (hereinafter “Vehicle”).

       6.      The Contract was assigned to the Creditor and Julie Diane Pileggi became

indebted to Creditor in accordance with the terms of same. To secure payment of the Contract,

Julie Diane Pileggi caused the Certificate of Title for a Vehicle to be delivered to Creditor. As a

result, Creditor is the holder of a first purchase money security encumbering the Vehicle. True

copies of the Contract and Certificate of Title for a Vehicle are annexed hereto as Exhibit A and

B.

       7.      Creditor’s best information is that there is no other entity claiming a lien on the

Vehicle.

       8.      Creditor avers that there is good cause to grant relief from the automatic stay. Per

the Contract, the Lease matured on August 29, 2019. Debtor has failed to make contractual

payments for the last 3 months of Contract from June 2019 through August 2019. As of January

13, 2019, the contractual arrears due to Creditor are $1,573.62, with fees of $381.50 for a total of

$1,955.12 in default.

       9.      As a precautionary measure, Creditor seeks relief from the automatic stay for

purposes of repossessing and selling the Vehicle.




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        10.    Due to said failure by Debtor to make payments when due, Creditor lacks

adequate protection of its security interest in the Collateral.

        11.    The total loan balance due to USB Leasing LT is $21,764.38, as of January 13,

2020.

        12.    The automatic stay of Section 362 of the Bankruptcy Code should be terminated

with respect to the interest of USB Leasing LT in the Vehicle, pursuant to Section 362(d)(1).

        WHEREFORE, USB Leasing LT respectfully requests this Honorable Court to enter an

order terminating the Automatic Stay as it affects the interest of USB Leasing LT in the Vehicle

of the Debtor specifically identified in the Contract, and granting such other relief as this

Honorable Court may deem just.


                                                       Respectfully submitted,
                                                         /s/ Karina Velter
                                                       Karina Velter, Esquire (94781)
                                                       Adam B. Hall (323867)
                                                       Sarah E. Barngrover (323972)
                                                       Manley Deas Kochalski LLC
                                                       P.O. Box 165028
                                                       Columbus, OH 43216-5028
                                                       Telephone: 614-220-5611
                                                       Fax: 614-627-8181
                                                       Attorneys for Creditor
                                                       The case attorney for this file is Karina
                                                       Velter.
                                                       Contact email is kvelter@manleydeas.com




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                 IN THE UNITED STATES BANKRUPTCY COURT
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In re:                                 :
                                       : Case No.: 16-13315
Frank Pileggi                          : Chapter 13
Julie D Pileggi                        : Judge Jean K. FitzSimon
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                             Debtor(s)
                                       :
USB Leasing LT                         : Date and Time of Hearing
                               Movant, : Place of Hearing
       vs                              : May 27, 2020 at 9:30 a.m.
                                       : ___________________________
Frank Pileggi                          :
Julie D Pileggi                        : U.S. Bankruptcy Court
                                       : 900 Market Street, Courtroom #3
                                       : Philadelphia, PA, 19107
Scott F. Waterman (Chapter 13)
                               Respondents.

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from the

Automatic Stay to permit USB Leasing LT to repossess property described as a 2015 Dodge

Durango bearing the Vehicle Identification Number ("VIN" ) 1C4RDJDG1FC953896 was served

on the parties listed below via e-mail notification:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   Scott F. Waterman (Chapter 13), Chapter 13 Trustee, Chapter 13 Trustee, 2901 St. Lawrence
   Ave., Suite 100, Reading, PA 19606

   Brad J. Sadek, Attorney for Frank Pileggi and Julie D Pileggi, Sadek and Cooper, 1315
   Walnut Street, Suite 502, Philadelphia, PA 19107, brad@sadeklaw.com


The below listed parties were served via regular U.S. Mail, postage prepaid, on April 30, 2020:




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  Frank Pileggi and Julie D Pileggi, 1401 Bentley Drive, Warrington, PA 18976


DATE: __April 30, 2020_____
                                                 /s/ Karina Velter
                                                 Karina Velter, Esquire (94781)
                                                 Adam B. Hall (323867)
                                                 Sarah E. Barngrover (323972)
                                                 Manley Deas Kochalski LLC
                                                 P.O. Box 165028
                                                 Columbus, OH 43216-5028
                                                 Telephone: 614-220-5611
                                                 Fax: 614-627-8181
                                                 Attorneys for Creditor
                                                 The case attorney for this file is Karina
                                                 Velter.
                                                 Contact email is kvelter@manleydeas.com




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